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 8

 9                              IN THE UNITED STATES DISTRICT COURT

10                                  EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                          CASE NO. 2:16-CR-00010 MCE
12
                                  Plaintiff,            STIPULATION AND FINDINGS AND ORDER TO
13                                                      CONTINUE STATUS CONFERENCE, AND TO
                           v.                           EXCLUDE TIME UNDER SPEEDY TRIAL ACT
14
     DENNA CHAMBERS AND                                 DATE: December 14, 2017
15   STARSHEKA MIXON,                                   TIME: 10:00 a.m.
                                                        COURT: Hon. Morrison C. England, Jr.
16                               Defendants.

17
18                                              STIPULATION

19         1.      By previous order, this matter was set for status on December 14, 2017.

20         2.      By this stipulation, defendants now move to continue the status conference until January

21 25, 2018, and to exclude time between December 14, 2017, and January 25, 2018, under Local Code T4.
22         3.      The parties agree and stipulate, and request that the Court find the following:

23                 a)      The government has produced over 25,000 pages of discovery associated with this

24         case, including tax returns, bank and credit card statements, investigative reports, and other

25         documents. The government has also made electronic devices and physical evidence available

26         for review.

27                 b)      Defense counsels require additional time to determine whether this case is triable,

28         and to conduct additional research related to the charges, further review of the voluminous


      STIPULATION RE: SPEEDY TRIAL ACT; ORDER           1
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 1        discovery, and any additional investigation and witness interviews that may be necessary in

 2        preparation for any trial. In addition, defense counsel needs additional time to consult with their

 3        respective clients to further discuss the law and evidence.

 4                c)      Counsel for defendants believe that failure to grant the above-requested

 5        continuance would deny counsel the reasonable time necessary for effective preparation, taking

 6        into account the exercise of due diligence.

 7                d)      The government does not object to the continuance.

 8                e)      Based on the above-stated findings, the ends of justice served by continuing the

 9        case as requested outweigh the interest of the public and the defendant in a trial within the

10        original date prescribed by the Speedy Trial Act.

11                f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

12        et seq., within which trial must commence, the time period of December 14, 2017, to January 25,

13        2018, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv), Local Code

14        T4, because it results from a continuance granted by the Court at defendants’ request on the basis

15        of the Court’s finding that the ends of justice served by taking such action outweigh the best

16        interest of the public and the defendant in a speedy trial.

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     STIPULATION RE: SPEEDY TRIAL ACT; ORDER            2
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 1          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
 3 must commence.
 4          IT IS SO STIPULATED.

 5
     Dated: December 12, 2017                        PHILLIP A. TALBERT
 6                                                   United States Attorney
 7
                                                     /s/ Shelley D. Weger
 8                                                   SHELLEY D. WEGER
                                                     Assistant United States Attorney
 9
10 Dated: December 12, 2017                           /s/ Kelly Babineau
                                                      KELLY BABINEAU
11
                                                      Counsel for Defendant
12                                                    Starsheka Mixon

13
     Dated: December 12, 2017                        /s/ Matthew Bockmon
14                                                   MATTHEW BOCKMON
                                                     Counsel for Defendant
15                                                   Denna Chambers
16
17
                                                      ORDER
18
            IT IS SO ORDERED.
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     Dated: January 3, 2018
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      STIPULATION RE: SPEEDY TRIAL ACT; ORDER             3
